      Case 1:19-cv-00104-RBW Document 42 Filed 05/19/22 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


                                           )
 NORRIS WILIAMS,                           )
                                           )
                        Plaintiff,         )
        v.                                 )   Civ. A. No. 19-0104 (RBW)
                                           )
 U.S. DEPARTMENT OF JUSTICE                )
                                           )
                        Defendant.         )
                                           )

                 DEFENDANT’S MOTION FOR EXTENSION OF TIME
             TO FILE RENEWED MOTION FOR SUMMARY JUDGMENT


       Defendant, United States Department of Justice (“Defendant”), pursuant to Rule

6(b)(1) of the Federal Rules of Civil Procedure, respectfully requests an additional extension

of 21 days until June 9, 2022. Because of Plaintiff’s current status, his consent to this

extension could not be solicited.      The motion is supported by good cause, beyond

undersigned counsel’s control.


       The case file in this matter – kept only in electronic format – cannot be located.

Much of this day has been spent trying to find it. A confluence of factors have complicated

the search. The United States Attorney’s Office has moved to a new location. Network

resources – including the location of files – have also changed this past weekend to create

more file space. Despite promises that the remapping of drives should appear seamless,

that has not proven the case with respect to the file in this case, which was inherited from a

predecessor and even since been used to store all of the work product generated by the

United States Attorney’s Office on this case. The IT Department has been working with
                                               1
      Case 1:19-cv-00104-RBW Document 42 Filed 05/19/22 Page 2 of 3
undersigned counsel in an effort to restore the file form a backup, but those efforts have yet

to find the file, which has been untethered from the network shortcut to which it was

previously assigned. Finally, owing to malfunctions of his government provided

equipment, counsel’s laptop was recently replaced, creating additional difficulties.


        Undersigned counsel regrets the inconvenience.       Because of the timing of the

mishap and the investment of time attempting to recover missing files, undersigned counsel

did not have an opportunity to assess the impact on preparing the renewed summary

judgment motion from scratch, in the event that the file is not found. However, because of

the relatively narrow task that remains, undersigned counsel believes in good faith that that

the renewed motion could be submitted within 21 days, even if the folder and oethw related

files are not located.


        Defendant respectfully requests an extension of time until June 9, 2022 to file its

motion.

Dated: May 19, 2022                           Respectfully submitted,

                                              MATTHEW M. GRAVES, D.C. Bar #481052
                                              Acting United States Attorney

                                              BRIAN P. HUDAK
                                              Acting Chief, Civil Division

                                              /s/ John Moustakas
                                              John Moustakas, D.C. Bar #442076
                                              Assistant United States Attorney
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                                              Washington, D.C. 20530
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                                              Counsel for Defendant



                                              2
      Case 1:19-cv-00104-RBW Document 42 Filed 05/19/22 Page 3 of 3
                            CERTIFICATE OF SERVICE

THIS IS TO CERTIFY that service of the foregoing Motion has been made by first- class
mail on May 19, 2022, to:
NORRIS WILLIAMS
R33221-018
FCI COLEMAN MEDIUM
P.O. Box 1032
Coleman, FL 33521-1032



                                   By:
                                   John Moustakas
                                   John Moustakas
                                   Assistant United States Attorney




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